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           EXHIBIT A
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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ADAM DOBSON,                                 :      Civil No. 1:16-CV-1958
                                             :
      Plaintiff,                             :
                                             :      (Judge Jones)
             v.                              :
                                             :      (Magistrate Judge Carlson)
THE MILTON HERSHEY SCHOOL                    :
AND SCHOOL TRUST, et al.,                    :
                                             :
      Defendants.                            :


                          MEMORANDUM OPINION1

I.    Introduction

      This case is one of several cases filed against the Milton Hershey School

(“MHS”) that alleges a policy of expulsion of students due to mental health issues.

The plaintiff, Adam Dobson, a former MHS student, filed this lawsuit in 2016 and


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  Pursuant to 28 U.S.C. § 636(b)(1)(A), this court, as a United States Magistrate
Judge, is authorized to rule upon motions by intervenors to unseal certain court
records. Parson v. Farley, 352 F. Supp. 3d 1141, 1145 (N.D. Okla. 2018), aff'd, No.
16-CV-423-JED-JFJ, 2018 WL 6333562 (N.D. Okla. Nov. 27, 2018). We note for
the parties that under 28 U.S.C. § 636(b)(1)(A) the parties may seek review of this
order by filing a motion to reconsider with the district court since: AA judge of the
[district] court may reconsider any . . . matter [decided under this subparagraph]
where it has been shown that the magistrate judge's order is clearly erroneous or
contrary to law.@ 28 U.S.C. § 636(b)(1)(A).
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alleged that he was expelled from MHS after he was hospitalized twice for mental

health issues. It is alleged that MHS has an informal “two-hospitalization” policy,

whereby the school expels students who are hospitalized more than once in outside

facilities for mental health issues.

      While the parties continue to litigate the merits of the plaintiff’s claims, we

are now called upon to resolve a collateral dispute—a motion to intervene filed by

The Philadelphia Inquirer, PBC (“The Inquirer”). The Inquirer seeks to intervene for

the limited purpose of unsealing a number of documents in this case that have been

filed under seal pursuant to protective orders entered by this court. The Inquirer

argues that the public has a right of access to these documents, given the allegations

against MHS. For their part, the defendants assert that these documents are discovery

materials and should remain sealed, as there is good cause for the protection of these

documents.

      After consideration, while we concede that there is a strong public interest in

this case, we also agree that there is good cause for the continued protection of these

documents. In particular, we note that the records at issue in this case related to a

discovery dispute, specifically the alleged inappropriate disclosure of discovery

material. These discovery documents enjoy greater protection from public disclosure

and are only tangentially related to the merits issues in this litigation, which are

questions of broader public interest. Moreover, since the underlying issue that was

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addressed by the court involved alleged inappropriate disclosure of discovery

material, public disclosure of this information would defeat the significant interests

served by the sealing order, since it would arguably highlight and place a lantern

upon questions of improper disclosure of discovery information, a matter which the

court has correctly concluded was best addressed discretely with the parties.

Accordingly, we will grant The Inquirer’s motion to intervene but deny The

Inquirer’s request to unseal these particular documents.

II.   Discussion

      A. The Inquirer Will Be Permitted to Intervene for the Limited Purpose
         of Challenging the Sealed Records.

      The Inquirer has moved to intervene in this case under Federal Rule of Civil

Procedure 24 for the limited purpose of unsealing certain records which it claims the

public is entitled to, given the allegations against MHS in this case. On this score, it

is well-settled that under Rule 24,

      “On timely motion, the court may permit anyone to intervene who: ...
      has a claim or defense that shares with the main action a common
      question of law or fact....” Fed. R. Civ. P. 24(b)(1) (emphasis added).
      Rule 24(b) further provides that, when a court exercises its discretion,
      “the court must consider whether the intervention will unduly delay or
      prejudice the adjudication of the original parties’ rights.” Fed. R. Civ.
      P. 24(b)(3). In exercising its discretion, the court should consider
      various factors, including whether the proposed intervenors will add
      anything to the litigation and whether the proposed intervenors’
      interests are already adequately represented in the litigation. Hoots, 672
      F.2d at 1136.



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Benjamin v. Dep’t of Pub. Welfare of Cmwlth., 267 F.R.D. 456, 464–65 (M.D. Pa.

2010), aff'd sub nom. Benjamin v. Dep't of Pub. Welfare of Pa., 432 F. App’x 94 (3d

Cir. 2011).

      As the text of Rule 24(b) implies, decisions regarding requests for permissive

intervention rest in the sound discretion of the court and will not be disturbed absent

an abuse of that discretion. Hoots v. Com. of Pa., 672 F.2d 1133, 1135 (3d Cir. 1982).

By its terms Rule 24(b) provides that: “On timely motion, the court may permit

anyone to intervene who: ... has a claim or defense that shares with the main action

a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B). Thus, Rule 24(b),

“lists three requirements for permissive intervention: (1) ‘timely application’; (2) ‘a

question of law or fact in common’ between the ‘applicant's claim or defense and

the main action’; (3) a determination that the intervention will not ‘unduly delay or

prejudice the adjudication of the rights of the original parties.’ ” United States v.

Columbia Pictures Indus., Inc., 88 F.R.D. 186, 189 (S.D.N.Y. 1980). Moreover, it is

well-settled that a third party may be permitted to intervene for the limited purpose

of unsealing records or challenging an existing protective order. See United States

v. Wecht, 484 F.3d 194, 199 n.4 (3d Cir. 2007); Leucadia, Inc. v. Applied Extrusion

Technologies, Inc., 998 F.2d 157, 167 (3d Cir. 1993); Republic of Philippines v.

Westinghouse Elec. Corp., 949 F.2d 653, 657 (3d Cir. 1991); Littlejohn v. Bic Corp.,

851 F.2d 673, 677-78 (3d Cir. 1988).

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      Here, the defendants challenge The Inquirer’s motion to intervene, arguing

that it is not timely filed. They contend that The Inquirer has been following this

case since its inception, and that it knew of the sealing of these records since at least

2017 but did not move to intervene until June 2019. However, the Third Circuit has

held that “[t]he mere passage of time . . . does not render an application untimely.”

Mountain Top Condominium Ass’n v. Dave Stabbert Master Builder, Inc., 72 F.3d

361, 369 (3d Cir. 1995) (citations omitted). Rather, a court must look at the totality

of the circumstances, considering “(1) the stage of the proceeding; (2) the prejudice

that delay may cause the parties; and (3) the reason for the delay.” Id. (citing In re

Fine Paper Antitrust Litigation, 695 F.2d 494, 500 (3d Cir. 1982)).

      In this regard, the defendants do not argue that there will be any excessive

delay if The Inquirer is permitted to intervene. Indeed, whether these records remain

sealed is a collateral matter that should not result in any delay in the litigation of the

underlying merits of this case.2 Rather, the defendants contend that they will be

prejudiced if the records The Inquirer seeks to have unsealed are in fact unsealed,

given the content of those records. However, this argument is more appropriately

tailored to the question of whether the records should be unsealed, and whether


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 We note that the parties are currently completing discovery in this case and are
scheduled to submit potentially dispositive motions in December of 2019.
Therefore, this is not an instance where a motion to intervene and unseal court
records is made on the eve of trial or directly interferes with on-going court
proceedings.
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information should be redacted from specific documents. Thus contention, therefore,

does not directly speak to the question of whether The Inquirer may intervene to

challenge the sealing of these records. Accordingly, when we consider the totality

of the circumstances, we find that there would be no undue delay as a result of

permitting The Inquirer to intervene. We also find that the Inquirer’s motion to

intervene is not so delinquent that it should be denied out of hand. Finally, while we

recognize Milton Hershey’s potential concern regarding prejudice that may result

from specific disclosures, we believe that this concern can and should be addressed

through an individualized assessment of specific documents, rather than through the

wholesale denial of this motion to intervene. Accordingly, the motion to intervene

will be granted.

      B. The Documents Requested By The Inquirer Should Remain Sealed.

      While we will grant The Inquirer’s motion to intervene, we conclude on the

unique facts of this case that these particular records should remain sealed. As we

have explained, The Inquirer seeks to have multiple docket entries in this case

unsealed and argues that the public has a right to access these documents,

particularly given the nature of the allegations against the defendants. On the other

hand, the defendants contend that these documents, which contain confidential

discovery materials, were sealed pursuant to protective orders entered by this court

and should remain sealed, as there is good cause for the continued protection of these

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documents. Specifically, the defendants argue that these documents were sealed in

response to the alleged improper leaking of discovery materials to media outlets, as

well as extrajudicial statements allegedly made by the plaintiff’s former counsel to

the media.

           After consideration, we agree with the defendants that the district court

correctly concluded that there was good cause for the continued protection of these

documents. Accordingly, we will deny The Inquirer’s request to unseal these

documents.

                (1) Standards Governing an Intervenor’s Access to Sealed Court
                    Documents

      The Court of Appeals has recently articulated the different standards

governing challenges to the confidentiality of documents. On this score, the Court

stated:

      We apply three distinct standards when considering various challenges
      to the confidentiality of documents. We apply the factors articulated in
      Pansy v. Borough of Stroudsburg, 23 F.3d 772, 783–92 (3d Cir. 1994),
      when we review orders preserving the confidentiality of discovery
      materials pursuant to Federal Rule of Civil Procedure 26. But we apply
      the more rigorous common law right of access when discovery
      materials are filed as court documents. In addition to recognizing fewer
      reasons to justify the sealing of court records, the public right of
      access—unlike a Rule 26 inquiry—begins with a presumption in favor
      of public access. Goldstein v. Forbes (In re Cendant Corp.), 260 F.3d
      183, 192–93 (3d Cir. 2001). Finally, the First Amendment right of
      public access attaches to, inter alia, civil trials. Publicker Indus., Inc. v.
      Cohen, 733 F.2d 1059, 1061 (3d Cir. 1984).



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In re Avandia Marketing, Sales Practices and Products Liability Litigation, 924 F.3d

662, 670 (3d Cir. 2019). Thus, the standard we apply, and the scrutiny various

records receive, depends on the type of document that the third party is seeking.

                    (a) Discovery Materials and Motions

      Discovery materials can be shielded by the entry of a protective order pursuant

to Rule 26 of the Federal Rules of Civil Procedure. In order to obtain a protective

order, a party must establish “good cause” for the order, which requires “a showing

that disclosure will work a clearly defined and serious injury to the party seeking [to

prevent] disclosure. The injury must be shown with specificity.” Publicker Indus.,

Inc. v. Cohen, 733 F.2d 1059, 1071 (3d Cir. 1984). “Broad allegations of harm,

unsubstantiated by specific examples or articulated reasoning” will not establish

good cause. Cipollone v. Liggett Group, Inc., 785 F.2d 1108, 1121 (3d Cir. 1986).

In determining whether a party has established good cause for a protective order,

courts must consider a number of factors. In Pansy v. Borough of Stroudsburg, 23

F.3d 772 (3d Cir. 1994), the Third Circuit set forth a nonexhaustive list of factors to

be considered:

      1) whether disclosure will violate any privacy interests;
      2) whether the information is being sought for a legitimate purpose or
      for an improper purpose;
      3) whether disclosure of the information will cause a party
      embarrassment;
      4) whether confidentiality is being sought over information important
      to public health and safety;

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      5) whether the sharing of information among litigants will promote
      fairness and efficiency;
      6) whether a party benefitting from the order of confidentiality is a
      public entity or official; and
      7) whether the case involves issues important to the public.

Glenmede Trust Co. v. Thompson, 56 F.3d 476, 483 (3d Cir. 1995) (citing Pansy,

23 F.3d at 787-91. The Pansy Court noted that in considering these factors, the

district court’s analysis “should always reflect a balancing of private versus public

interests.” Pansy, 23 F.3d at 789.

      This analysis also applies to a situation in which a nonparty intervenor seeks

to modify an existing confidentiality order and inspect documents filed under seal.

Leucadia, 998 F.2d at 166. The party seeking to keep the documents confidential

must make a showing in accordance with the criteria identified by the court in Pansy

that good cause exists for continued protection of the documents. Id.

                   (b) Common Law Right of Access

      Additionally, it is well-settled that there is a longstanding common law public

right of access to judicial proceedings, both criminal and civil, which includes the

right to “inspect and copy public records and documents, including judicial records

and documents.” Leucadia, 998 F.2d at 161 (internal citations and quotations

omitted). This right “antedates the Constitution,” Bank of America Nat’l Trust and

Savings Ass’n v. Hotel Rittenhouse Associates, 800 F.2d 339 (3d Cir. 1986), and

“promotes public confidence in the judicial system by enhancing testimonial

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trustworthiness and the quality of justice dispensed by the court.” Littlejohn, 851

F.2d at 678. The right of the public to inspect court documents is dependent upon

whether such documents are “judicial records,” meaning that the record is “a

document that ‘has been filed with the court . . . or otherwise somehow incorporated

or integrated into a district court’s adjudicatory proceedings.” Avandia, 924 F.3d at

672 (quoting In re Cendant Corp., 260 F.3d at 192) (internal quotations omitted).

      Once a document is determined to be a “judicial record,” a presumption of

public access applies. In re Cendant Corp., 260 F.3d at 192-93. On this score, the

Third Circuit has held that this presumptive right of access applies to “pretrial

motions of a nondiscovery nature, whether preliminary or dispositive, and the

material filed in connection therewith.” Id. However, it does not apply to discovery

motions and their supporting documents. Leucadia, 998 F.2d at 165. Moreover, the

presumption may be rebutted if the party seeking protection can show “that the

material is the kind of information that courts will protect and that disclosure will

work a clearly defined and serious injury to the party seeking closure.” Avandia, 924

F.3d at 672 (quoting Miller v. Ind. Hosp., 16 F.3d 549, 551 (3d Cir. 1994) (internal

quotations omitted)).

                   (c) First Amendment

      Finally, there is a recognized constitutional right of access to civil proceedings

under the First Amendment, including documents involved in those proceedings.

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Publicker Indus., 733 F.2d at 1071. In determining whether the right of access

applies, courts apply a two-prong test, asking: (1) “whether the place and process

have historically been open to the press” (the “experience” prong), and (2) “whether

public access plays a significant role in the functioning of the particular process in

question” (the “logic” prong). N. Jersey Media Group Inc. v. United States, 836 F.3d

421, 429 (3d Cir. 2016) (quoting PG Pub. Co. v. Aichele, 705 F.3d 91, 103 (3d Cir.

2013) (internal quotations omitted)). If both prongs are met, the First Amendment

right of access presumptively applies, and this presumption will only be rebutted by

a showing of “an overriding interest [in excluding the public] based on findings that

closure is essential to preserve higher values and is narrowly tailored to serve that

interest.” Avandia, 924 F.3d at 673 (quoting Publicker Indus., 733 F.2d at 1073)).

      It is against these legal benchmarks that we now assess the merits of The

Inquirer’s request to unseal certain documents in this case.

             (2) The Requested Documents Should Remain Sealed.

      As we have noted, The Inquirer seeks to have several documents in this case

unsealed—docket entries 45, 46, 48, 54, 55, 59, 80, 82, 85 and 86. The Inquirer

asserts that these documents are “judicial records” and thus fall within the public’s

common law right of access. Alternatively, The Inquirer claims that, if these

documents are considered discovery materials, the defendants have not shown good

cause for the continued protection of these documents.

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      On both scores, we disagree.

      The sealed records in this case relate exclusively to a discovery dispute

between the parties, a discovery dispute which highlights why discovery materials

are typically treated as private and not presumptively subject to public disclosure.

At bottom, these records involve a dispute between the parties regarding whether

discovery information was being improperly disseminated in a fashion which was

unduly prejudicial. The district court discretely addressed and resolved this issue in

a fashion which avoided further potentially prejudicial disclosure of discovery

matters.

      Given this backdrop, at the outset, we note that these documents, in our view,

do not qualify as “judicial records” subject to the public right of access or the First

Amendment. Rather, the documents sought by The Inquirer include a motion to file

documents under seal and the plaintiff’s opposition (Docs. 45, 54); a motion for a

protective order and accompanying documents, as well as the plaintiff’s opposition

(Docs. 46, 48, 55, 59); a second motion for a protective order and to file the motion

under seal, along with the plaintiff’s opposition (Docs. 80, 82, 85); and this court’s

March 12, 2018 order granting the defendants’ second motion for a protective order

in part. (Doc. 86). The defendants’ requests for these protective orders arose after

the plaintiff’s previous attorney allegedly disclosed discovery and other confidential

information to the media. (Doc. 163, at 21). Thus, in our view, these records qualify

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as discovery documents and as such are subject to Rule 26 of the Federal Rules of

Civil Procedure and the Pansy factors set forth above, rather than the common law

right of access. Leucadia, 998 F.2d at 166.

      The factors prescribed by Pansy and its progeny are fact-specific and fact-

dependent, strongly suggesting that any objections to the disclosure of information

should be tailored to the facts of the case. In addition, it has been frequently

underscored that “[b]road allegations of harm, unsubstantiated by specific examples

or articulated reasoning” will not establish good cause to keep records under seal.

Cipollone v. Liggett Group, Inc., 785 F.2d 1108, 1121 (3d Cir. 1986). Thus, the

analytical paradigm established by the courts contemplates a specific factually-

driven assessment of the prejudice that may flow from disclosure of individual

records. Several other factors caution in favor of a fact-specific analysis of requests

to unseal court documents. Indeed, it has been held that the court “err[s] by not

conducting a document-by-document review.” Avandia, 924 F.3d at 677. Moreover,

when faced with an objection to an existing protective order, “continued sealing

must be based on ‘current evidence to show how public dissemination of the

pertinent materials now would cause the [] harm [they] claim.’” In re Cendant Corp.,

260 F.3d at 196 (quoting Leucadia, 998 F.2d at 167)

      In this case, weighing the assertions of the parties against the multi-facetted

test prescribed by the Court in Pansy, we find that while the merits issues in this case

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involve issues of importance to the public, this intramural squabble between the

parties regarding the alleged improper disclosure of discovery material some two

years ago is, at most, only tangentially related to these matters of public interest.

Moreover, we find that there is good cause for the requested documents to remain

sealed. In the instant case, the defendants sought a protective order governing all

documents and information obtained in discovery after the plaintiff’s previous

counsel allegedly leaked confidential information to the media. The defendants were

permitted to file this motion and supporting papers under seal pursuant to Chief

Judge Conner’s September 26, 2017 order, which was entered after a telephone

conference with the parties. (Doc. 71). Thereafter, the parties entered into a joint

stipulated protective order. (Doc. 75). Thus, it is apparent that Judge Conner

carefully considered the countervailing legal interests and determined in this

instance there was good cause for sealing these particular documents based on the

parties’ briefs and subsequent telephone conference.

      The defendants then sought a second protective order in February 2018 (Doc.

80-1), and the motion and supporting brief and exhibits were filed under seal

pursuant to Chief Judge Conner’s February 5, 2018 order. (Doc. 81). The defendants

sought this protective order after plaintiff’s counsel allegedly made extrajudicial

statements to media outlets about the instant case. (Doc. 163, at 12). After a

consideration of both parties’ contentions, Judge Conner entered a sealed order that

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granted the defendants’ motion for a protective order in part, noting the applicable

legal standards for restricting a party’s speech, which include the risk of prejudice

of extrajudicial statements made by counsel in a “high profile case,” and directing

that all counsel be precluded from making extrajudicial statements concerning

certain aspects of the ongoing case. (Doc. 86).

      Again, it is apparent that Judge Conner carefully considered the

countervailing legal interests and determined that there was good cause for sealing

these particular documents, including the order that granted in part the defendants’

second motion for a protective order. Accordingly, because these documents were

sealed based upon separate and specific decisions by Chief Judge Conner, we will

not disturb these findings. We note that if either party wished to challenge the sealing

of these documents, the more appropriate course of action would have been to have

filed a motion to reconsider these specific rulings.

      In sum, the documents requested by The Inquirer related to what is now a

year-old discovery dispute between the parties, were sealed and subject to carefully

conceived protective orders entered by the court, and the defendants have met their

burden to show continued justification for the sealing of these particular documents.




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Thus, we will deny The Inquirer’s request to unseal Documents 45, 46, 48, 54, 55,

59, 80, 82, 85 and 86.3

      An appropriate order follows.




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 We note that this is one of two such motions to intervene which we have been
asked to address in this and the related case of Wartluft v. Milton
HersheySchool,1:16-CV-2145. In Dobson we have denied the request to unseal
while in Wartluft we have provisionally granted this request. We emphasize for the
parties and the intervenor that these differing outcomes are a result of our
individualized assessment of these motions, which arise in different factual
contexts, involve documents which have very different characters as either judicial
records or discovery documents, and as to which the factual showing of the need
for continued sealing was very different.
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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ADAM DOBSON,                               :     Civil No. 1:16-CV-1958
                                           :
     Plaintiff,                            :
                                           :     (Judge Jones)
           v.                              :
                                           :     (Magistrate Judge Carlson)
THE MILTON HERSHEY SCHOOL                  :
AND SCHOOL TRUST, et al.,                  :
                                           :
     Defendants.                           :

                                   ORDER


     Accordingly, for the reasons set forth in the accompanying Memorandum

Opinion, IT IS ORDERED THAT The Inquirer’s motion (Doc. 153) be GRANTED

IN PART AND DENIED IN PART as follows:

     1. The Inquirer’s motion to intervene is GRANTED.

     2. The motion is DENIED, in that Documents 45, 46, 48, 54, 55, 59,

        80, 82, 85 and 86 will remain sealed.

     So ordered this 22d day of October 2019.


                                           /s/ Martin C. Carlson
                                           Martin C. Carlson
                                           United States Magistrate Judge



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